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            .IN THE COURT OF THE FEDERAL DISTRICT OF SOUTH DAKOTA
Christopher William (Bruce) The Living Man                    Case # 19-4096
               Claimant

V.



Paul Ten Haken, Sean Kooistra, AAA                                   AMENDED CLAIM
Collections, LLC.

                Defendants




I, Christopher WiUiam (Bruce), The Living Man,on this date, do bring action against Paul Ten
Haken, Sean Kooistra and AAA Collections for the purpose of claiming damage in fact in an
Article III court of common law.

STANDING

The claimant has standing,in that he is no U.S. Citizen, but instead is a twice authenticated State
National ofthe Republic,in the Territory of South Dakota; a living breathing man and a "South
Dakotan;".and not a "Resident" ofthe corporate entities of THE STATE OF SOUTH DAKOTA,
INC., or THE CITY OF SIOUX FALLS,INC.

VENUE

As these events occurred in the territory of South Dakota, and the claimant lives in this territory,
as does the defending party, venue is located in this federal district.
JURISDICTION

This matter falls imder the "Federal Question"jmisdiction; and subject matter falls under this
court, since the question concerns a conspiracy against the Constitutional rights ofthe claimant
(18 U.S.C. §241), cmd that attempts were made to deprive the claimant ofhis unalienable and
Constitutional rights using color oflaw(42 U.S.C. §1983). Also, a matter concerning the reach
ofthe "Freedom ofInformation Act"is in question. It should also be noted that this matter has
gone as far- as possible where the COUNTY OF MINNEHAHA INC. is concerned, as the State
court would not allow the claimant to file an action without a "State issued ID." The claimant
also claims and reseiwes his rights.

FACTS OF THE CASE

     1. On or around the date of November IS"*, a message was snbmitted to Defendant Ten
        Haken,informing him that he and the claimants had a friend in common,and that this
        person knew his whole family. The claimant left this message as only a friendly heads up
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     that he and the defendant knew someone in common that the claimant respected, and that
     he guessed the defendant did too.
  2. On November 20"", the claimant received a voicemail from a Sem Kooistra, asking the
     claimant to return his call.

  3. Upon returning this call, Sean Kooistra proceeded to warn the claimant that he should no
     longer send such a personal message to Mr. Ten Haken, presenting that he intended to
     conspire with defendant Ten Haken to violate his inalienable right offree speech.
  4. On or around the date of March 10^,2019,the claimant sent several copies of a document
     to around 72 city workeis, which included a quote of his that said: "I bet the first person
     to say "You can't fight city hall" was a person who worked for city hall who was tired of
     people fighting city hall all the time. I say, you can fight city hall, you just need a bigger
     gun, better bullets and harder armor. - Christopher, The Living Man"
  5. On the date of March 12"', the claimant received a voicemail from Sean Kooistra, asking
     the claimant to return the call.

  6. On the same date, the claimant returned his call, and Sean Kooistra warned him to
     remove this quote from the document before sending it to anyone else, essentially
     presenting once again, that he intended to conspire with the defendant, Mr. Ten Haken,to
     violate the claimant's inahenable right offree speech.
  7. On the date of or around December 29*,2018, a FOIA request question and answer sheet
     was submitted to "The City of Sioux Falls, Inc.,", a business run by Mr.Paul Ten Haken,
     its appai'ent Administrator; via email; asking for all information available on record for
     on a brand new technology currently being installed within the limits of"The City of
     Sioux Falls,Inc." - The 5G Cell Phone upgrade; and the plan to make Sioux Falls a
     "Smart City", as well as aU information about its new LED lighting system.
  8. On the date of or around December 3P', a return email was sent to the claimant, inferring
     that, in providing answer to the FOIA,the claimant could possibly incur some additional
     costs. The first was quoted as $.10/copy, and the 2"" at $7.50/hr. for "record searching,"
     as it is not at all described in any detail in "The City of Sioux FaUs" ordinance of 41.003;
     nor did it even appear as absolute that these service charges would occur. The statute
     reads, ver batum:\

            "a. The followiag fees shall be paid for record search and
            production of documents for the public: Service:
             Photocopies/page@$0.10; Record Search/hour@$7.50"
             NOTE: This statute and its chapter do nothing to define these services at all.
  9. The claimant emailed back to "The City of Sioux Falls, Inc." an email, which only said:
     "That's fine. Go ahead."
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  10. On the date of approximately February 2,2019,the claimant received the answer to the
      request, in the form of approximately 12 pages of a printed reply letter ($.10/copy x 12 =
     $1.20) and a small off-brand 8 GB thumb drive with approximately 20 varying files on it,
     of which 2 were possibly useful in my request(the contract for Verizon, and another like
     it). The answers to the specific questions asked in the FOIA request were largely not
     answered and fielded as not being the responsibility ofthe City's Council to answer; nor
     were any attempts made to direct the claimant to anywhere that he miglit find these
     answers. Included with this package was a bill as issued the claimant by "The City of
     Sioux Falls (Inc.)" in the amount of $115.82,for 14 hours of"Multi-Media Support", a
     term not described in this business's "codes",those quoted in billing the claimant; nor
     was this "support" mentioned as possibly chargeable at all in the corresponding emails.\
  11. On the date ofFebruary 8"", 2019, the claimant sent payment and a letter to "The City of
     Sioux Falls, Inc." The claimant offered to settle this unlawful bill in tlie form of the only
     recently discoverable means of making this payment lawfully that he was aware of:
     coffee beans, at a rate of 1 whole bean per dollar, and which also included the full set of
     legal paperwork (in affidavit form, signed in blue and thumbprint in red, witnessed by the
     same); which fully explains thisjustifiable method of payment. All ofthis was sent to
     the address provided on the biU for "The City of Sioux Falls (Inc.)" via certified mail,
     with return receipt. The Claimant also added that he wanted a receipt marked 'Taid in
     full" to be mailed to him. The package was dehvered and signed on or around February
     ll^ 2019.
  12. Between the dates ofFebruary 11®*, 2019 and the first date of a bill sent to the claimant's
      current address from AAA collections in the amount allegedly owed "The City of Sioux
     Falls, Inc.", no return ofthe claimant's payment was sent the claimant by mail; nor did
     the claimant ever receive mail indicating that the bill was not able to be paid in this
     maimer; nor did the claimant ever receive a subsequent follow-up for the original bill; nor
     was one ever mailed to or received by any occupying parties at his current home address.
  13. On or around the approximate date of April 2,2019,the claimant then received the now
     $116 bill from AAA Collections, LLC,addressed to a dead corporate entity named
     CHRISTOPHER BRUCE; demanding payment ofthe bill, and threatening this entity
     with legal retributions.

  14. On or around the date of 4/16/2019,the claimant made an attempt to serve notice of
     Cease and Desist/Intent to file civil suit to the individual/defendant Paul Ten Haken's
     personal secretary. Upon approach to the office of Mr. Ten Haken at City Hall, he was
     identified mistakenly as'Mr. Bruce," and called over by the building's security officer
     on duty at the time. Even though this has not been his name for 4 years, it used to be, and
     the claimant was sure the guard was on the lookout for him,since he had made his
     service attempt common knowledge. As he Wcinted the notice served, he humored him.
     This person was, evidently, a person able to accept service on behalf ofPaul Ten Haken,
     and he did so at this time, stating he would take them for him. The claimant then
     produced copy of all that he was giving the defendant at this time; and had the security
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     officer sign the copies as "received"for the claimant's records. The man who accepted
     the notice was identified as Greg DeBoer,and this was confirmed via phone call
     information and by signatm'e. He is allegedly a retired police officer, badge #622. The
     receipt for "Paid in full" was asked for again in this notice.
  15. On or ai'oimd 4/24/2019, the claimants received a charge of now $120.90 Ifom AAA
     Collections LLC,addressed to the same dead corporate entity as before(CHRISTOPHER
     BRUCE,ALL CAPS),and not the claimant.
  16. On or aiound the date of 5/6/2019,the claimant issned notice to cease and desist all
     communications/intent to file civil action to the     defending party - AAA
     COLLECTIONS,LLC., along with a letter disputing the validity of Mr. Ten Haken's bill.
     Attached with this notice was evidence of the all that had trcinspired between the Living
     Man and "The City of Sioux Falls, Inc." concerning the matter they were attempting to
     collect. As of this date, tliere has been no response fi"om the defendants Paul Ten Haken
     or AAA Collections, LLC.

  17. On the date of 6/62019, the claimant did file an amended claim in this matter, then sent a
      copy to the defendant. Ten Haken,and sent it to several council members and several of
      his personal contacts, for his own protection approximately 2 hours later. It's also
      important to mention that not only did someone ofthe Clerk's office, or possibly ajudge,
     did contact Mr. Ten Haken to tell him about this filing before I had chance to email it to
     him.

  18. 2 hours after sending Mr. Ten Haken his copy,4 Minnehaha Coimty Sheriffs did break
      down the claimant's door; with gnus drawn (the claimant did not wish to let them enter,
      as they had driven up in an unmarked vehicle, refused to show him ID or a warrant) and
      arrested him for a single misdemeanor stalking charge against Defendant Ten Haken; an
      obvious act of retaliation. This occurrence,in violation of my rights, will be filed
      separately. Sean Kooistra, another primary defendant in THIS matter; was the one to
      swear to damage of Ten Haken,in order to affect tlie claimant's arrest.

  19. The claimant was then held on a wholly unconsttitional and unwarranted $50,000 cash
      only bail for nearly 2 months,in violation of Article I, Section 8 ofthe U.S. Constitution.



GROUNDS FOR DAMAGE AND REQUEST FOR REMEDY:



     It was ruled in the Supreme Court of the United States that neither the UNITED
     STATES,INC., OR IT'S LESSER FRANCHISES,THE STATE OF SOUTH DAKOTA,
     INC,THE COUNTY OF MINNEHAHA INC.; and THE CITY OF SIOUX FALLS,
     INC. has any granted or legjd authority to affect or enforce any corporate by-laws, mles,
     ordinances or statutes against; or punish as a result ofthe alleged "violation" ofthe
     aforementioned, on a designated State National (South Dakotan), A Living Breatliing
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     Man in conunon law, or a person with address in the Republic or the Territory of South
     Dakota; without his informed consent. According to the same ruling, all ofthese fictions
     are, and I quote,"Figments of our imagination."
     Also,there are currently no records in my current home state ofinformed,implied,
     presumed, or assmned consent made to the ciforementioned, or any consent to be ruled by
     the bylaws(or entered into verbal or written agreements) between any ofthe afore
     entities and the claimant on file anywhere; save the email agreeing to the POSSIBLE
    charges that might be incurred ofthe claimant in answer to my FREEDOM OF
    INFORMATION ACT REQUEST;which it would appear is hardly free at all. Should
     the email conversation between an actor for the corporate fiction(The City Clerk)and the
     claimant be somehow able to allow the court to construct an implied or verbal contract
     between the claimant and the 2 corporate fictions. Defendant Ten Haken and "The City
     of Sioux Falls;" know that, upon doing so,the claimant will then claim damage against
     the entity acting in that position as well,in that the terms and conditions implied in any
     subsequent responses(or,in this case, NON-responses)by those of this franchise were
    largely violated, since no answer was provided to most questions, no breakdown of work
    performance was given the claimant, and the work discussed and defined by City's
    ordinances did not match what the claimant was billed for. Furthermore, both the bill and
    its subsequent collection was addressed to CHRISTOPHER BRUCE,a dead corporate
    entity, an entity the claimant has not been for nearly 4 years now. Currently, there are no
    other fictions carrying any such active contracts or agreements with the claimant eitlier.
    The claimant requests, therefore, as his remedy for the damage in fact by Paul Ten Haken
    including, but not limited to: unfaii" billing for almost no service that was either defined
    or rendered,the disregard ofthe payment made, costs that were incurred during these
    processes which aie, but are not limited to: Mailing costs, printing costs; hours spent on
    legal documents and services, the claimant's valuable time (at the rate of $100/per hour),
    and the damage made to the claimant's credit score that occurred when Paul Ten Haken,
    for the 25% of this bill he received from AAA Collections, LLC for turning it over to this
    defendant for collecting, without additional attempts to re-collect his alleged "Bill;" did
    not send the payment sent in back to the claimant, did not present the claimant with
    additional notice ofthe amount due; but instead turned it over to defending party AAA
    Collections LLC;then having the claimant falsely arrested for the crime of"Stalking",
    and dragging the good name ofthe claimant through the mud; and violating his
    Constitutional rights oflife and liberty, his inalienable and protected rights offree
    speech; the claimant asks the court to grant the claimant the amount of $20,000 in lawfiil
    currency, defined by the Constitution ofthe United States(Gold or silver) be paid the
    claimant, for the harm done to him and his good name, upon demand.
    For the damage incurred by AAA Collections; For the damage of harassment of this
    claimant on two separate occasions; on the basis of an unlawful attempt to extort FRN's
    from the claimant for no service rendered by the franchise business "The City of Sioux
    Falls;" and attempting to assign this debt to a debtor that does not exist using my
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     residential mailing address; and utilizing the color oflaw and threats oflegal duress; the
     court is asked to award the plaintiff the amount of $1000.00 in lawful Constitutional
     money (gold or silver)for pain and suffering, upon demand.
     For the damage incurred by Sean Kooistra,in the event that he attempted to deprive the
     claimant of his imalienable right to free speech using color oflaw on two separate
     occasions, and also for the crime of conspiring with defendant Ten Haken using legal
     dmess,then swearing to an affidavit that lead to the an est ofthe claimant on false
     allegations in retaliation for THIS LAWSUIT,in conspiracy against the rights ofthe
     claimant; the claimant asks for $10,000 in lawful Constitutional money(gold or silver.),
     upon demand.

    The claimant would also ask this court to grant the claimant injunctive relief against the
    individual defendants,Paul Ten Haken and Sean Kooistra; in the form of a one-way
     enforceable restraining order with negotiable conditions,to ensure the claimant no
     actions ofretribution befall the claimant out ofthe defendants' likely vindictive feelings;
    those that may result from the decision that is sure to be made in this action in the
     claimant's favor.

     The claimant has presented all the aforementioned in truth, to the best of his knowledge.
    The claimant asks for ajmy trial in this matter.



                                                                  Date

    Christopher William ofthe family of Bruce,a living man
     Sui Juris, All rights reseiwed, without Prejudice


                                                                  Date

    Elizabeth Marie ofthe family of Bruce, a living woman
    Witness
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     Elizabeth Marie ofthe family of Bruce, a living woman

     Witness
